Case 2:04-cr-20311-.]PI\/| Document 188 Filed 08/03/05 Page 1 of 2 Page|D 267

 

IN THE UNITED sTATES DISTRICT coURT F"~ED BYW£:;_ D.c.
FoR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIVISION 05 AUG ~3 PH 5= |8
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UNITED sTATEs oF AMERICA, W,@ OF ;;1,\ ;r\.ig§1{,.§PHiS

Plaintiff,
v. No. 04-20311 Ml
ISIAH conAY,

Defendant.

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ORDER DENYING MOTION 'I'O RESET DATE
DEFENDANT MUST REPORT TO BUREAU OF PRISONS

 

Before the Court is Defendant’s August 1, 2005, Motion For
Resetting to Report to Jail and August 2, 2005, Amended Motion
for Resetting to Report to Jail. The United States filed its

response on August 2, 2005.

For the reasons stated in the Government's response, the
Defendant's motion is hereby DENIED and the Defendant shall
report to FCI Yazoo City, Yazoo, Mississippi, as previously

ordered by 2:00 D.m. on Fridav, Auqust 5, 2005.

30 0RDERED this § DAY oF August, 2005.

Q,PQMC&QQb

,JO P. MCCALLA
TED STATES DISTRICT JUDGE

 

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UNITED `SATES DISTRIC COUR - WESTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 188 in
case 2:04-CR-203]1 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

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Honorable Jon McCalla
US DISTRICT COURT

